                 Case 1-15-44838-nhl              Doc 16        Filed 12/06/15         Entered 12/07/15 00:17:42


                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 15-44838-nhl
Guillermo Rodriguez                                                                                        Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: mcuzzo                       Page 1 of 1                          Date Rcvd: Dec 04, 2015
                                      Form ID: pdfdat                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 06, 2015.
db             +Guillermo Rodriguez,   308 Harman Street,   Brooklyn, NY 11237-4933

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 06, 2015                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 4, 2015 at the address(es) listed below:
              Karen Marie Sheehan    on behalf of Creditor   Wells Fargo Bank, NA ksheehan@flwlaw.com,
               jspiegelman@flwlaw.com;plamberti@flwlaw.com
              Marianne DeRosa     Derosa@ch13mdr.com, mderosa13@ecf.epiqsystems.com
              Office of the United States Trustee    USTPRegion02.BR.ECF@usdoj.gov
                                                                                             TOTAL: 3
   Case 1-15-44838-nhl                   Doc 16          Filed 12/06/15             Entered 12/07/15 00:17:42




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